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                                                     March 16, 2018

 Via ECF and by Fax

 The Honorable Naomi Reice Buchwald
 United States District Court for the
  Southern District of New York
 500 Pearl Street, Room 2270
 New York, NY 10007-1312

          Re:        Knight First Amendment Institute, et al. v. Trump,
                     et al., Case No. 17-CV-5205 (NRB)

 Dear Judge Buchwald,

          Because of an exchange between the Court and counsel for the
 Government during last Thursday’s oral argument in the above-captioned
 matter, counsel for Plaintiffs revisited the D.C. Circuit’s decision in Swan
 v. Clinton, 100 F.3d 973 (D.C. Cir. 1996), and their characterization of that
 decision in Plaintiffs’ summary judgment briefing. In at least two instances,
 Plaintiffs stated that the court in Swan had ordered injunctive relief against
 the President’s subordinates in lieu of the President. Pls.’ Cross-Mot. &
 Opp’n Br. at 31 n.13, ECF No. 43; Pls.’ Reply Br. at 14, ECF No. 56. In
 fact, although the court held that it had jurisdiction to grant such relief,
 Swan, 100 F.3d at 979–81, it ultimately ruled against the plaintiff on the
 merits, id. at 988.

         As counsel for Plaintiffs stated at oral argument, Swan is relevant
 here because it makes clear that the Court has authority to order subordinate
 officials to remedy injuries stemming from the President’s actions. The
 other cases counsel cited during argument further clarify that, for purposes
 of standing to obtain injunctive relief against individuals sued in their
 official capacities, the relevant question is whether those individuals are in
 a position to carry out the ordered relief. See Parkell v. Danberg, 833 F.3d
 313, 332 (3d Cir. 2016); Hartmann v. Cal. Dep’t of Corr. & Rehab., 707
 F.3d 1114, 1127 (9th Cir. 2013); Luckey v. Harris, 860 F.2d 1012, 1015
 (11th Cir. 1988).




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                                     Respectfully,

                                     /s/ Jameel Jaffer
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